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Pro Se 5 (Rev. 12/16} Complaint for a Civil Case Alleging Negligence

 

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Unirep States District COURT Cville, NC
for the FEB 39 2022
Western District of North Carolina Cler k, US Distric to
Asheville Division estern District of Ne

CaseNo.  1:21-cVv-00305

(to be filled in by the Clerks Office)

 

BRO. T. HESED-EL

 

Plaintiff(s)
(Write the full name of each plaintiff who is fiting this complaint. If
the names of alt the plaintiffs carmot fit in the space above, please
write “see attached” in the space and attach an additional page with
the full list of names.)

Jury Trial Demanded: o ve wu

-V _

ROBIN BRYSON; ADAM HERZOG; STIRLING
BARLOW; MISSION HOSPITAL INC;
ANC HEALTHCARE ING; and JOHN DOE 1-20.

 

Defendant(s)
(Write the full name of each defendant who is being sued. Ifthe
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page with
the full list of names.}

AMENDED COMPLAINT FOR A CIVIL CASE ALLEGING NEGLIGENCE
(28 U.S.C. § 1332; Diversity of Citizenship)

I. The Parties to This Complaint
A. The Plaintiff(s)

 

Provide the information below for each plaintiff named in the complaint. Attach additional pages
if needed.

 

 

 

 

 

Name Brother T. Hesed-El

Street Address cio TAQ] EL AGABEY MANAGEMENT
30 N Gould Street - Suite R

City and County Sheridan

State and Zip Code Wyoming 82801

Telephone Number 762-333-2075

E-mail Address teamwork3@gmail.com

 

 

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B. The Defendant(s)

Defendant Ne. 1

 

 

 

 

 

Name Robin Bryson (Individual and Official Capacity)
Job or Title (if known) Licensed Clinical Social Worker (LCSW)

Street Address 428 Biltmore Ave

City and County Asheville - Buncombe County

State and Zip Code North Carolina 28801

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 2

Name Mission Hospital, Inc.

 

Job or Title (if known)

 

 

 

Street Address 509 Biltmore Ave
City and County Asheville - Buncombe County
State and Zip Code North Carolina 28801

 

Telephone Number

 

£-mail Address (if known)

 

Defendant No. 3
Name ANC Healthcare, Inc.

 

Job or Title (if known)

 

 

 

Street Address 425 West New England Ave Ste 300
City and County Winter Park - Orange County
State and Zip Code Florida 32789

 

Telephone Number

 

E-mail Address (if known)

 

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Defendant No. 4

 

 

 

 

Name John Doe/Hospital Does 1-20

Job or Title (if known) (Individual and Official Capacity)
Street Address

City and County Asheville - Buncombe County
State and Zip Code North Carolina 28801

 

Telephone Number

 

E-mail Address (if known)

 

IE. Basis for Jurisdiction
A. The Plaintiff(s)
1. The Plaintiff, BRO. T. HESED-EL, a citizen of Georgia.

(if more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

The Defendant(s)

 

1. If the defendant is an individual
The defendant, (mame) Robin Bryson , is a citizen of
the State of (name) North Carolina . Orisa citizen of

 

(foreign nation)

 

The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,G00, not counting interest and costs of court, because (explain):

More than $75,000 in damages; and mere than $250,000 in punitive damages.

(see attached)

 

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Hl,

Statement of Claim

On (date) 09/20/2016 —, at {place} Mission Hospital, Inc. - Asheville, NC >

 

Defendant Robin Bryson, an employee of Mission Hospital and/or ANC Healthcare, Inc., owed a duty to
Plaintiff to strictly comply with the requirements of G.S. 122C-263(c) and G.S. 122C-263(g) while he was
at Mission Hospital. Based on false conclusions or insufficient facts and hearsay, she recommended that
Plaintiff be committed involuntarily as an inpatient at Mission Hospital. She knowingly omitted from her
examination the availability of supervision from Plaintiff's family, friends, or others; and she knowingly
failed to provide Plaintiff with specific information at the completion of the examination regarding the
next steps that would occur. Bryson breached her duty with foreknowledge that such a breach would
cause Plaintiff harm and deprive him of insight and liberty. Bryson willfully breached her duty owed to
Plaintiff which directly and proximately caused Plaintiff’s foreseeable damages. Further, Bryson lacked
the requisite authorization to conduct the first examination of Plaintiff that was used to initiate and sustain
his detainment for 16 days in violation of law.

Mission Hospital, Inc. and ANC Healthcare, Inc.’s negligent policies, practices, training, supervision,
hiring, and retention Jed to and caused Plaintiff’s damages. They are liable as Bryson’s principal.

Plaintiff was under a disability during the 16 days he was falsely imprisoned at Mission Hospital and
therefore could not pursue any claims against the defendants until after he was released.

(see attached)

 

The acts or omissions caused or contributed to the cause of the plaintiff's injuries by (explain)

IV.

{see attached)

 

Relief

(see attached)

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Vv. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge,
information, and belief that this complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or
by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonabie
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Rule 11.

A. Por Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case~related papers may be served. |

understand that my failure to keep a current address on file with the Clerk’s Office may result in the dismissal of
my case.

This 16th day of Rajab in the year 1443 A.H.

     
 

Signature of Plaintiff <—X i . Lb 4 Jf Kd
Printed Name of Plaintiff ~ & Co Hy 02 47’ Hesede £ /

  

Rule 15(a) Amendment
This amendment is made as a matter of course within 21 days after service of Defendants’ motion to
dismiss. Defendants must respond within 14 days after service of this amended complaint.

Rule 9(j) Certification
(not required under Federal Rules)

The medical care and all medical records pertaining to the alleged negligence that are available to the
plaintiff after reasonable inquiry have been reviewed by a person who is reasonably expected to qualify as an
expert witness under Rule 702 of the Rules of Evidence and who is willing to testify that the medical care did not

comply with the applicable standard of care.

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CERTIFICATE OF SERVICE
‘This is to certify that this amended complaint has been electronically served upon the defendants, by

attachment to an email, to ensure delivery to:

Robin Bryson, Mission Hospital Inc., and ANC Healthcare Inc.
% Attorney Richard 8. Daniels
Patla, Straus, Robinson & Moore, P.A.
Post Office Box 7625
Asheville, North Carolina 28802

rsd@psrmlaw.com

This 17th day of February 2022 A.D.

 
       

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Bro T. Hesed-El, Plaintiff pro se

 

 

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ATTACHMENT TO COMPLAINT
IL PARTIES, JURISDICTION, AND VENUE
1.

From the Westem District of North Carolina to the Southern District of Georgia, Plaintiff
TH a ma HESED-EL has been and is known as Brother T. Hesed-El (“Plaintiff”).
“Brother” is a religious honorific. Plaintiff's first name is abbreviated to the first initial for religious
purposes, just like Catholics and others who use honorifics, titles, and abbreviations. Plaintiff’s
middie names, mm and “ » are not necessary for identification purposes nor relevant
to this action, Bro. T. Hesed-El is Plaintiff’s real name. It is not a pseudonym. If anyone wishes to
view Plaintiff’s unredacted middle names, his name change paperwork is a matter of public record.

Plaintiff legally corrected his name from STEPHEN ANTHONY LEE on May 20, 2015.
See Exhibit Pi. Other names or pseudonyms alleged by others to be Plaintiff’s legal name should
be entirely disregarded. Plaintiff currently resides at Alpharetta, Georgia (subject to change).
Pursuant to Georgia Constitution Article I - Paragraph VU, Plaintiff, a citizen of Georgia, U.S.A.,
is entitled to equal protection under the law.

2,

Robin Bryson is a citizen of North Carolina and subject to the jurisdiction of this court. She
can be served at her home address or at her place of employment. She is an employee of Mission
Hospital, Inc. (“Mission Hospital”) and/or ANC. Healthcare, Inc. (‘ANC”). Her employment
address is listed in the pro se template form.

3.

Adam Herzog is a citizen of North Carolina and subject to the jurisdiction of this court. He

can be served at his home address or at his place of employment. He is an employee of Mission

Hospital and/or ANC.

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4,

Stirling Barlow is a citizen of North Carolina and subject to the jurisdiction of this court.
She can be served at her home address or at her place of employment. She is an employee of
Mission Hospital and/or ANC.

5.

Mission Hospital, Inc., a domestic non-profit corporation incorporated in the State of North
Carolina, is a citizen of North Carolina and subject to the jurisdiction of this court. Its principal
office is located at 425 West New England Ave Ste 300, Winter Park, FL 32789. Its business
address in Asheville is listed in the pro se template form.

6.

ANC Healthcare, Inc., a domestic non-profit corporation incorporated in the State of North
Carolina, is a citizen of North Carolina and subject to the jurisdiction of this court. Its principal
office is located at 425 West New England Ave Ste 300, Winter Park, FL 32789. It is Mission
Hospital’s parent company.

7.

John Doe is an individual who resides in the state of North Carolina. Hospital Does 1-20
are individuals who reside in the state of North Carolina and are employees of Mission Hospital
and/or ANC. Their negligence caused injury to Plaintiff on or about September 20, 2016. Their
identities are unknown to Plaintiff at this time but are readily ascertainable to Defendants, They
have been given prior notice of Plaintiff’s claims and would not be prejudiced by being joined into
this action. Once the identity of the Does are discovered, this Complaint will be amended to

substitute any party that is or may be liable to Plaintiff.

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8.
This court has jurisdiction pursuant to 28 U.S.C. § 1332. Venue is proper as the events
giving rise to this action wholly took place in Buncombe County, North Carolina, within the

territorial jurisdiction of this court.

Il. FACTUAL ALLEGATIONS
9.
On September 20, 2016, around 1pm EST, Plaintiff was practicing his religion, sunbathing
in the nude, in the forest of Biltmore Estate, North Carolina. He was responsive and not harmful.
10.
Plaintiff was in a competent and healthy state of mind. He was at peace in silent meditation.
11.

Without probable cause, the Sheriff of Buncombe County detained Plaintiff and caused
Plaintiff to be transported to Mission Hospital for an involuntary psychiatric evaluation. Plaintiff
was transported against his will to Mission Hospital.

12.
Plaintiff remained calm and exercised his right to remain silent.
13.

No reasonable person would have forcefully taken Plaintiff to the hospital for a psychiatric
evaluation under those conditions. Plaintiff did not meet the statutory definition for an involuntary
commitment.

14.

Instead, a reasonable person would have simply asked Plaintiff to put his clothes back on.

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15.
Or, arrested Plaintiff for being nude, despite him being on private property with permission.
16.
Upon his arrival at Mission Hospital in the ambulance at about 1:30pm EST, Plaintiff
opened the ambulance door and told an off-color joke to Defendant Adam Herzog (“Herzog”).
17,
Defendant Stirling Barlow (“Barlow”) then asked Plaintiff for permission to draw
Plaintiff’s blood to run various lab tests. Plaintiff refused to give consent.
18.
In response, security was called and a therapeutic restraint was used so Barlow could
extract Plaintiff’s blood without his consent. He told Barlow: “You will answer to Jesus Christ.”
19,
Herzog then secretly injected Plaintiff with a cocktail of drugs without Plaintiffs consent.
The heavy drugs altered Plaintiff’s mind state and caused him to lose consciousness,
20.
At 2:58pm, Plaintiff was not arousable.
a1,
At 9:02pm, after a nurse recorded that Plaintiff was calmly resting in his assigned
involuntary patient room, Herzog secretly drugged Plaintiff again without his consent.
22.
The second dosage of the cocktail was administered via intravenous drip while Plaintiff

was still unconscious. Plaintiff’s mind was altered a second time by the heavy doses of drugs.

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23.

At 11:01pm, while Plaintiff was still in bed with his eyes closed, Defendant Robin Bryson

(“Bryson”) purportedly completed an examination to have Plaintiff committed.
24.

Despite the required standard of care and state law, Bryson neglected to examine the

availability of Plaintiff’s support from friends, family, and others.
20.

In her petition, Bryson recommended an inpatient commitment based upon her conclusion

that Plaintiff’s alleged religious comments were “nonsensical” and his mind state was altered.
26.

Bryson failed to inquire into Plaintiff’s worldview or religion to better understand Plaintiff.

She also failed to wait for the drugs to wear off before performing her alleged examination.
2,

At the completion of her alleged examination, Bryson failed to provide Plaintiff with
specific information regarding the next steps that would occur. She failed to inform Plaintiff of any
facts regarding the commitment process which would have provided Plaintiff with insight into his
situation. As a result, Plaintiff was falsely imprisoned at Mission Hospital for 16 days.

28.

Bryson was not authorized nor properly trained to perform the first examination that

resulted in Plaintiff’s false imprisonment for 16 days.
29,
Barlow and Herzop’s violations of Plaintiff’s rights combined with Bryson’s failures caused

Plaintiff’s ignorance of the facts. He was afraid he would be further harmed at Mission Hospital.

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30.

ANC and Mission Hospital failed to properly train, monitor and supervise Barlow, Herzog,

and Bryson, and its other employees to ensure adequate care of Plaintiff and other patients.
31.

Upon information and belief, Mission Hospital did not design, implement, or enforce
adequate training, policies and procedures to ensure Barlow, Herzog, and Bryson provided
adequate care to Plaintiff and its other patients. ANC and Mission Hospital did not have a policy to
protect patients from violations of rights and injury caused by employees or other patients.

32.
Mission Hospital failed in ensuring that patients were adequately educated of their rights.
33.

Upon information and belief, as the parent company and overseer of Mission Hospital, Inc.,
ANC created, supervised, managed, encouraged, guided, directed, aided, abetted, and/or approved
of all training programs, policies, procedures, and employment decisions of Mission Hospital.

34,

ANC’s failure to oversee and properly direct Mission Hospital’s operations, and Mission
Hospital’s failure to adequately train, supervise and implement or enforce necessary policy and
procedures to ensure patient safety and protection from rights’ violations, were the moving force
that led to and caused Plaintiff’s injuries.

35.

In concert with each other, Buncombe County, the Buncombe County Sheriff (and/or

deputy Sheriff(s)), Barlow, Herzog, Bryson, Mission Hospital, and ANC failed to keep Plaintiff

safe while he was in their custody and care. They created the danger then they caused him harm.

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36.
As a result of the defendants’ actions and omissions, Plaintiff has suffered loss, physical
injuries, emotional and mental pain, and will continue to suffer loss in the future.
37.
As a proximate result of the defendants’ intentional acts, Plaintiff incurred medical
expenses and loss of peace of mind. As a proximate result of the defendants’ negligence, Plaintiff

incurred medical expenses and loss of peace of mind.

ii. CLAIMS FOR RELIEF

COUNT I - LACK OF INFORMED CONSENT
(against Herzog and Barlow)

38.

At all relevant times, Plaintiff was capable and competent to make his own health decisions

and satisfy his basic needs. Plaintiff had no prior history of violence or mental health issues.
39.

Barlow and Herzog owed Plaintiff a duty to inform him of the material risks associated
with medical treatment, and give him an opportunity to give his expressed consent regarding
medical treatment.

40.

Barlow breached her duty owed to Plaintiff and forcefully drew Plaintiff’s blood without

his consent in direct violation of Plaintiff’s rights and religion.
Al.
Herzog breached his duty owed to Plaintiff and forcefully administered harmful substances

into Plaintiff’s body without his consent in direct violation of Plaintiff’s rights and religion.

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42.
Herzog and Barlow’s reckless and willful disregard of Plaintiff’s right to determine what is

done with his own body proximately caused Plaintiff's injuries.

COUNT I - GROSS NEGLIGENCE / WILLFUL AND WANTON CONDUCT
(against Bryson, Herzog, and Barlow)

43.

By taking Plaintiff’s blood without his consent, which induced a traumatic and heightened
state of mind, drugging Plaintiff, and having him committed based on his alleged religious
comments while drugged in bed with his eyes closed, the defendants performed acts that a person
of ordinary prudence in the same or similar circumstances would not have done; or failed to
perform acts that a person of ordinary prudence would have done under the same or similar

circumstances. The resulting injury to Plaintiff was reasonably foreseeable.

44,
Bryson knew, or should have known, that Plaintiff did not meet the criteria for an
involuntary commitment.
45.
Bryson knew, or should have known, that Plaintiff could survive safely in freedom on his
own, or with the help of Plaintiff's family, friends, or others.
46.
Based upon and driven by her religious bias, cultural incompetency, and lack of training
and supervision, Bryson knowingly failed to comport with the known standards of her profession

and made little to no effort to examine the less restrictive methods of care available to Plaintiff.

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47.

Barlow, Herzog, Bryson, and all other hospital staff each owed Plaintiff a duty to provide

medical care no lower than the applicable standard of care.
48.

The defendants negligently breached their duty owed to Plaintiff when they provided

medical care that fell below the applicable standard of care.
49.

Bryson, in concert with Herzog and Barlow, willfully and knowingly forced unnecessary
medical care upon Plaintiff in violation of his religion and rights and caused side effects which they
knew, or should have known, would negatively impact Plaintiff’s mind and body.

50.

Due to Bryson, Herzog, Barlow, and other hospital staff’s lack of training and supervision,
and ANC and Mission Hospital’s inadequate policies and procedures, Plaintiff was imprisoned
under the care of culturally incompetent and religiously indifferent hospital employees for 16 days.

51.
Bryson, Herzog, Barlow, and other hospital staff’s willful and reckless disregard of

Plaintiff’s rights and religion caused him emotional and physical injuries.

COUNT III - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
(against Bryson, Herzog, and Barlow)

D2.
Bryson breached her duty owed to Plaintiff to strictly comply with the involuntary

commitment laws and provide care to Plaintiff according to the applicable standard of care.

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53.

At all relevant times, Bryson knew, or should have known, that her conduct would and did

proximately result in Plaintiff’s physical and emotional distress.
54.

Despite said knowledge and duty, Bryson negligently inflicted emotional distress upon
Plaintiff by recommending his inpatient commitment without Plaintiff having met the criteria for
commitment. Bryson’s negligent failure to follow the instructions outlined in the involuntary
commitment petition form caused Plaintiff harm.

55.

The severe emotional distress suffered by Plaintiff is the direct result of Bryson’s

negligence, violation of state law, and failure to follow instructions.
56.

As a proximate and foreseeable result of Bryson’s negligent infliction of emotional distress

upon Plaintiff, Plaintiff suffered severe mental and emotional pain.
57,

However, Herzog and Barlow’s actions described herein constitute outrageous conduct

against Plaintiff. Their acts completely debilitated Plaintiff and were malicious in nature.
58.

Herzog and Barlow intended to cause Plaintiff to suffer emotional distress, or, in the
alternative, they engaged in the conduct with reckless disregard of the high probability of causing
Plaintiff to suffer emotional distress. ANC and Mission Hospital failed to warn its patients of the

hazards known to it.

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59.

Plaintiff suffered emotional distress and the outrageous conduct of Herzog and Barlow was

the cause of the severe emotional distress suffered by Plaintiff.
60.

Bryson, Herzog and Barlow’s conduct constitutes infliction of emotional distress and is
actionable under the laws of North Carolina. Their actions and omissions demonstrate willful
misconduct, malice, wantonness, and oppression which raises the presumption of conscious
indifference to the consequences. Plaintiff is entitled to compensatory and punitive damages.

Plaintiff is entitled to recover all damages as a matter of equity.

COUNT IV - NEGLIGENT SUPERVISION AND/OR TRAINING
(against ANC and Mission Hospital)

61.
ANC and Mission Hospital owed a duty to Plaintiff to train and supervise their employees
before, during, and after patient care.
62.
ANC and Mission Hospital breached their duty by failing to train and supervise their
employees.
63.
ANC and Mission Hospital knew, or should have known, of the prior rights’ violations and
patterns of religious indifference demonstrated by Bryson, Barlow, Herzog and other staff.
64.

At all times relevant to this complaint, ANC and Mission Hospital knew, or in the exercise
of reasonable or ordinary care should have known, that in an non-emergency situation such as the

subject incident, Plaintiff’s blood should not have been drawn without his consent, Plaintiff should

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not have been secretly dragged via injection then secretly drugged again via an intravenous drip,
and Plaintiff should not have been examined and petitioned for commitment, but since he was
examined and committed, G.S. 122C-263(c) and (g) should have been strictly adhered to.

65.

At all relevant times, ANC and Mission Hospital had the power, ability, authority, and duty
to stop Barlow, Herzog, and Bryson from engaging in the conduct described herein and to prevent
or prohibit their misconduct but failed to do so.

66.

ANC and Mission Hospital had actual or constructive notice of the need to implement a

policy to protect patients from violations of rights and injury by employees but failed to do so.
67.

ANC and Mission Hospital breached their duty owed to Plaintiff by failing to exercise

reasonable or ordinary care in safeguarding against employee negligence and recklessness.
68.
ANC and Mission Hospital failed to implement or enforce proper training, supervision,
policies, and procedures that limited forced medical treatments in non-emergency situations.
COUNT V - RESPONDEAT SUPERIOR
69.
Plaintiff incorporates by reference paragraphs 1-68 as if fully stated in this paragraph.
70.

At all times relevant to this complaint, Barlow, Herzog, Bryson, and other staff were acting
within the scope of their employment and in furtherance of ANC and Mission Hospital’s business
as agents or employees of ANC and Mission Hospital. Under the doctrine of Respondeat Superior,
accomplice liability, agency, or apparent agency, ANC and Mission Hospital are liable for the
tortious acts and omissions of their agents or employees, Barlow, Herzog, Bryson, and other staff,

in causing the injuries described herein.

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REQUEST FOR RELIEF
WHERFORE, pursuant to G.S. 90-21.12, Plaintiff prays for a finding that defendants
jointly and severally owe Plaintiff more than $75,000 in economic and non-economic damages,
which will be determined at trial, and an order directing the defendants to pay to Plaintiff that
amount in full plus litigation costs. Plaintiff also prays for such other relief the Court deems just,

fair, and proper, A jury trial is demanded on all issues.

Plaintiff affirms under penalty of perjury that the foregoing complaint is true and correct.

Executed this 16th day Rajab in the year 1443 A.H.

 

 

Pro se Plaintiff Bro’ T. Hesed-E1
% TAQI EL AGABEY MANAGEMENT
3G N Gould Street - Suite R
Sheridan, WY 82801

(762) 333-2075

teamwork3@gmail.com

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